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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND

                                    :
KENNETH CRAWFORD
                                    :

     v.                             : Civil Action No. DKC 2004-2485
                                      Criminal No. DKC 2001-0600
                                    :
UNITED STATES OF AMERICA
                                    :

                              MEMORANDUM OPINION

     Presently pending and ready for resolution in this case is the

motion of Petitioner to vacate, set aside, or correct his sentence,

(paper 83).   The issues are fully briefed and the court now rules

pursuant to Local Rule 105.6, no hearing being deemed necessary.

For the reasons that follow, the court will deny Petitioner’s

motion.

I.   Background

     On December 5, 2001, Petitioner Kenneth Crawford was charged

with (1) possession with intent to distribute heroin in violation

of 21 U.S.C. § 841; (2) possession with intent to distribute

phencyclidine in violation of 21 U.S.C. § 841; (3) conspiracy to

distribute more than 100 grams of heroin and phencyclidine in

violation of 21 U.S.C. § 846; (4) possession of a firearm in

furtherance of a drug trafficking offense in violation of 18 U.S.C.

§ 924(c); and (5) being a felon in possession of a firearm in

violation of 18 U.S.C. § 924(g).        On June 24, 2002, Petitioner was

found guilty on Counts 1 and 3.           The jury determined that the

object of the conspiracy under Count 3 was the distribution of
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heroin.    The jury was unable to reach a verdict as to the remaining

counts.

     On September 9, 2002, Petitioner was sentenced to 75 months

imprisonment to be followed with six years of supervised release.

At the sentencing hearing, Petitioner was represented by Arcangelo

Tuminelli, Esq.        Mr. Tuminelli also represented Petitioner at

trial, along with Stanley Needleman, Esq.                   No specific drug

quantity was charged in the indictment.              Mr. Tuminelli asserted

that the proper quantity of heroin attributable to Petitioner was

40.76 grams. The government argued that the proper quantity should

be more than 100 grams due to the high purity of the quantity

found, which would allow it to be cut twice, yielding a larger

quantity.    At sentencing, the quantity attributable to Petitioner

was found to be at least 40 grams but less than 60 grams, resulting

in a base offense level 20 under the Sentencing Guidelines.                       U.S.

SENTENCING GUIDELINES MANUAL § 2D1.1(c)(10) (2001).               Six-levels were

added to the base offense level, four levels for the high purity of

the heroin reflecting the seriousness of Petitioner’s conduct, and

the remaining two levels for the presence of a firearm which was

not improbably connected to the offense.                  A criminal history

category    of   II   was   found   to   be   appropriate,        resulting   in     a

guideline sentence range of 70-87 months.             U.S.S.G. at ch. 5, pt.

A, sentencing table (2001).




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       Petitioner     appealed    the   sentence,       challenging     both     the

enhancement for possession of a firearm and the upward departure

for the high purity of the heroin.               On September 15, 2003, the

Court of Appeals affirmed the sentence, stating this court did not

err on either finding under the Guidelines, (paper 87, Ex. B).

United States v. Crawford, 2003 WL 22119928, at *1, 75 F.App’x 116

(4th Cir. 2003).

       On July 28, 2004, Petitioner filed the instant § 2255 motion,

claiming Mr. Tuminelli was ineffective at sentencing because he

failed to inform the court that (1) the maximum sentence the court

can impose is based solely on facts in the jury’s findings or

admitted by petitioner, and (2) any sentence based on facts outside

the jury’s findings or those admitted by petitioner violates

petitioner’s Sixth Amendment right.             (Paper 83, at 5).

II.    Standard of Review

       Title   28   U.S.C.   §   2255   requires    a    petitioner     asserting

constitutional error to prove by a preponderance of the evidence

that “the sentence was imposed in violation of the Constitution or

laws    of   the    United   States,    or   that   the    court    was    without

jurisdiction to impose such sentence, or that the sentence was in

excess of the maximum authorized by law.”                 On the other hand,

“[t]he scope of review of non-constitutional error is more limited

than that of constitutional error; a nonconstitutional error does

not provide a basis for collateral attack unless it involves ‘a


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fundamental   defect   which   inherently     results        in     a   complete

miscarriage of justice,’ or is ‘inconsistent with the rudimentary

demands of fair procedure.’” United States v. Mikalajunas, 186 F.3d

490, 495-96 (4th Cir. 1999) (internal citation omitted).                 While a

pro se movant is entitled to have his arguments reviewed with

appropriate consideration, see Gordon v. Leeke, 574 F.2d 1147,

1151-53 (4th Cir. 1978), if the § 2255 motion, along with the files

and records of the case, conclusively shows that he is entitled to

no relief, a hearing on the motion is unnecessary and the claims

raised in the motion may be dismissed summarily. 28 U.S.C. § 2255.

Furthermore, only issues that have not been waived may be raised:

          In order to collaterally attack a conviction
          or sentence based upon errors that could have
          been but were not pursued on direct appeal,
          the movant must show cause and actual
          prejudice resulting from the errors of which
          he complains or he must demonstrate that a
          miscarriage of justice would result from the
          refusal of the court to entertain the
          collateral attack. The existence of cause for
          a procedural default must turn on something
          external to the defense, such as the novelty
          of the claim or a denial of effective
          assistance of counsel.     And, in order to
          demonstrate that a miscarriage of justice
          would result from the refusal of the court to
          entertain the collateral attack, a movant must
          show actual innocence by clear and convincing
          evidence. [ ] Mikalajunas, 186 F.3d at 492-93
          (citations omitted). To establish cause for
          procedural default based upon ineffective
          assistance of counsel, petitioners “must show
          that their attorneys’ performance fell below
          an objective standard of reasonableness and
          that they suffered prejudice as a result.”
          Id. (citing Murray v. Carrier, 477 U.S. 478,
          488, 106 S.Ct. 2678, 91 L.Ed.2d 397 (1986);

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            Strickland v. Washington, 466 U.S. 668, 687,
            104 S.Ct. 2052, 80 L.Ed.2d 674 (1984)).


Leano v. United States, 334 F.Supp.2d 885, 890 (D.S.C. 2004).

III. Analysis

      Petitioner asserts that he received ineffective assistance of

counsel with respect to his sentencing, in violation of his Sixth

Amendment right to competent counsel. According to Petitioner, his

attorney, Mr. Tuminelli, was ineffective because he failed to

advise the trial court of the sentencing rule described in Apprendi

v. New Jersey, 530 U.S. 466, 490 (2000)(“[o]ther than the fact of

a prior conviction, any fact that increases the penalty for a crime

beyond the prescribed statutory maximum must be submitted to a

jury, and proved beyond a reasonable doubt.”).

      The    standards     governing       constitutionally       ineffective

assistance of counsel claims are well settled under Strickland. To

prevail on a claim of ineffective assistance of counsel, Petitioner

must show both that his attorney’s performance fell below an

objective standard of reasonableness and that he suffered actual

prejudice. See Strickland, 466 U.S. at 687. To demonstrate actual

prejudice, he must show there is a “reasonable probability that,

but   for   counsel’s    unprofessional     errors,   the      result   of    the

proceeding would have been different.”          Id. at 694.

      According to Strickland, there exists a strong presumption

that counsel’s conduct was within a wide range of reasonably


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professional conduct, and the courts must be highly differential in

scrutinizing counsel’s performance.                See id. at 688-89; Bunch v.

Thompson, 949 F.2d 1354 (4th Cir. 1991).                    Courts must judge the

reasonableness of attorney conduct “as of the time their actions

occurred, not the conduct’s consequences after the fact.”                         Frye v.

Lee,    235   F.3d    897,    906    (4th       Cir.    2000).          Furthermore,    a

determination        need    not    be   made      concerning           the   attorney’s

performance if it is clear that no prejudice would have resulted

even had the attorney been deficient.                  See Strickland, 466 U.S. at

697.

       Petitioner’s claim of ineffective counsel is based on an

incorrect premise.          He mistakenly asserts that the statute under

which he was convicted, 21 U.S.C. § 841(b), addresses a statutory

maximum “only when the conviction specified the drug quantity.”

(Paper 88, at 6) (emphasis in original).                         This, according to

Petitioner, is significant because a claim is “covered by the

holding of Apprendi if the relevant ‘prescribed statutory maximum’

is found in the Sentencing Guidelines rather than on the face of

the relevant substantive statute.”                United States v. Kinter, 235

F.3d 192, 200 (4th Cir. 2000).                  However, that statement in the

Kinter opinion describes concerns expressed by the dissent in

Apprendi, and is not a holding of the case.                    The decision goes on

to state, “the relevant ‘maximum’ under Apprendi is found on the

face of the statute rather than in the Sentencing Guidelines.” Id.


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at 201.   Petitioner was found guilty under 21 U.S.C. § 841.                That

statute   prescribes   the   penalty   for   an   offense     involving       an

unspecified amount of a controlled substance in schedule I as “a

term of imprisonment of not more than 20 years[.]”              21 U.S.C. §

841(b)(1)(C).    Heroin is a schedule I substance.             21 C.F.R. §

1308.11. Therefore, because Petitioner’s sentence was less than 20

years, which is the statutory maximum sentence for an unspecified

quantity of heroin, there was no error in his sentence.           See United

States v. Angle, 254 F.3d 514, 518 (4th Cir. 2001) (en banc).

     This court exercised discretion in adjusting upward within the

Sentencing Guidelines, but that conduct did not offend Apprendi as

the final sentence did not exceed the 20-year statutory maximum.

At the time of sentencing, it was a well established principle that

“the current practice of judicial factfinding under the Guidelines

is not subject to the Apprendi requirements–at least so long as

that factfinding does not enhance a defendant’s sentence beyond the

maximum term specified in the substantive statute."             Kinter, 235

F.3d at 201.    Raising Apprendi would not have forced the sentence

to be reduced, as this court was within its discretion to conduct

factfinding under the Guidelines.       Therefore, Petitioner has not

demonstrated that Mr. Tuminelli’s failure to raise Apprendi at

sentencing prejudiced him in any manner.

     Petitioner’s premise for alleging ineffective counsel, that

raising Apprendi would have been prudent in attempting to reduce


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his sentence, is incorrect because Apprendi was not violated in

this case.      Therefore, Petitioner has not met his burden of

overcoming    the   assumption       that   “under    the    circumstances,       the

challenged action [of counsel] might be considered sound trial

strategy.”      Strickland,     466    U.S.   at     690    (internal    quotation

omitted).      Because   he    has    not   demonstrated       either    that     Mr.

Tuminelli’s conduct was deficient, or that he was prejudiced,

Petitioner’s Strickland assertion fails.

IV.   Conclusion

      For the foregoing reasons, Petitioner’s motion to vacate, set

aside, or correct sentence under 28 U.S.C. § 2255 (paper 83) will

be denied.    A separate Order will follow.



                                               /s/
                                      DEBORAH K. CHASANOW
                                      United States District Judge




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